Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 1 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 2 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 3 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 4 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 5 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 6 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 7 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 8 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                            Exhibit Page 9 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 10 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 11 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 12 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 13 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 14 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 15 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 16 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 17 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 18 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 19 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 20 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 21 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 22 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 23 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 24 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 25 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 26 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 27 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 28 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 29 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 30 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 31 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 32 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 33 of 34
Case 1:20-ap-90110   Doc 1-1 Filed 08/03/20 Entered 08/03/20 10:17:52   Desc
                           Exhibit Page 34 of 34
